Case 1-22-11558-rmb        Doc 71    Filed 11/28/22 Entered 11/28/22 10:04:17            Desc Main
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 Mark Harring
 Standing Chapter 12 & 13 Trustee
 Mail CORRESPONDENCE to:                                     Mail Chapter 13 PAYMENTS to:
                                                             Please write case # on all payments
 122 W Washington Ave, Suite 500                             MARK HARRING CH 13 TRUSTEE
 Madison, WI 53703-2758                                      P.O. BOX 88004
 Phone: (608) 256-4320                                       CHICAGO, IL 60680-1004
 Fax: (608) 256-2355


 November 28, 2022

 Honorable Rachel M. Blise
 U.S. Bankruptcy Court Judge
 120 N Henry
 Madison, WI 53703-2559

 Re:    Jennifer & Israel R. McKinney
        Case #22-11558-13

 Dear Judge Blise:

 This case is scheduled for a hearing on INTERNAL REVENUE SERVICE's Motion for
 Relief from Stay on 12/1/22. The debtors are current with plan payments through a debtor
 payment order.

 The Plan has not been confirmed, however, the debtors' plan proposes to pay the INTERNAL
 REVENUE SERVICE as follows: monthly payments of $6,870.94 for 60 months, with the
 debtors to resume payments for an additional 30 months after the plan is completed; the priority
 amount of $412,180.92 will be paid in full on a pro-rata basis through this office.

 Sincerely,

 /s/ Mark Harring
 Mark Harring
 Standing Chapter 13 Trustee

 MWH/eb

 cc:    ATTORNEY GREG P. PITTMAN
        ATTORNEY THERESA M ANZIVINO
